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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
              v.                               :    Criminal Case No. 21-582 (CRC)
                                               :
MICHAEL A. SUSSMANN,                           :
                                               :
                       Defendant.              :


GOVERNMENT’S SUPPLEMENT TO ITS MOTION TO INQUIRE INTO POTENTIAL
                    CONFLICTS OF INTEREST

       1.       The United States of America, by and through its attorney, Special Counsel John H.

Durham, writes briefly to supplement its February 11, 2022 Motion to Inquire Into Potential

Conflicts of Interest (the “Motion”). (See Dkt. No. 35).

       2.       Since the filing of its Motion, the Government has become aware of – and discussed

with defense counsel – an additional potential conflict of interest that it respectfully requests be

included in the Court’s inquiry and any related allocution of the defendant concerning a waiver of

any potential conflicts. In particular, the Government has become aware that Latham & Watkins

LLP has previously sought, and in some cases received, client work from the current employer

(“Employer-1”) of the former FBI General Counsel whom the Government expects to call as a

central witness at trial (“Witness-1”). This client work and related proposals for such work have

included one or more matters involving Witness-1, who serves as Deputy General Counsel of

Employer-1.

       3.       Accordingly, the Government respectfully requests that the Court include this

additional issue in its inquiry concerning potential conflicts of interest.


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                           Respectfully submitted,

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                           Special Counsel

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